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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

LAKE FOREST PARTNERS, L.P., and MARY                    ) Civil Action No. 2:12-cv-00999-AJS
ANASTASIA LAPIC, for themselves and all                 )
others similarly situated,                              )
                                                        )
                              Plaintiff,                )
     vs.                                                )            Electronically Filed
                                                        )
SPRINT COMMUNICATIONS COMPANY                           )
L.P., QWEST COMMUNICATIONS                              )
COMPANY, LLC, LEVEL 3                                   )
COMMUNICATIONS, LLC, and WILTEL                         )
COMMUNICATIONS, LLC,                                    )
                                                        )
                              Defendants.               )


         JOINT MOTION FOR CERTIFICATION OF SETTLEMENT CLASS,
        PRELIMINARY APPROVAL OF CLASS-ACTION SETTLEMENT, AND
               APPROVAL OF FORM AND MANNER OF NOTICE


       The Parties respectfully move the Court, under Federal Rules of Civil Procedure 23(b)

and (e), to (1) certify the Settlement class, (2) preliminarily approve the class-action settlement

agreement, (3) approve the form and manner of notice to the class, and (4) schedule a final

fairness hearing, any time after June 8, 2013.

       The grounds for the motion and a more detailed explanation of the coordinated noticed

program are set forth in the accompanying Plaintiffs’ Memorandum of Law in support.

Dated: October 1, 2012                           Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 1, 2012, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.


                                             s/Eric E. Caugh
                                             Eric E. Caugh

                                             Attorney for Plaintiffs Lake Forest Partners, L.P.
                                             and Mary Anastasia Lapic




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